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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW JERSEY

                                 FEE APPLICATION COVER SHEET


Debtor: Supor Properties Bergen Avenue LLC                Applicant: McManimon Scotland & Baumann, LLC

Case No.:       23-15758(SLM)                       Client:       Andrea Dobin

Chapter:                 7                          Case Filed:               July 5, 2023

                                            SECTION 1
                                          FEE SUMMARY

 Interim Fee Application No. or x Final Fee Application

                                                   FEES                              EXPENSES
Total Previous Fee Requested:                      $              0                  $        0
Total Fees Allowed To Date:                        $              0                  $        0
Total Retainer (If Applicable)                     $              0                  $        0
Total Holdback (If Applicable)                     $              0                  $        0
Total Received By Applicant                        $              0                  $        0

 NAME OF PROFESSIONAL &                   YEAR ADMITTED           HOURS           RATE        FEE
 TITLE                                    (Or Years of
                                          Professional Service)
 1.   Andrea Dobin, Esq.                          1990                37.10       $505-$520   $19,055.00
 2.   Michele M. Dudas, Esq.                      2006                68.60       $470-$510   $33,846.00
 3.   Eric E. Tomaszewski, Esq.                   2004                 1.4          $470         $658.00
 4.   Bernadette B. Chillemi, Paralegal                                1.0          $190         $190.00
 5.   Terri E. Olsen, Legal Assistant                                  1.0          $175         $175.00

         Fee Total                                        $53,924.00

         Disbursements Totals                              $1,524.33

         Total Fee Application                            $55,448.33
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                                              SECTION II
                                          SUMMARY OF SERVICES

SERVICES RENDERED                                                                        HOURS      FEE
a) Asset Analysis and Recovery:                                                            6.30    $3,085.00
     Identification and review of potential assets including causes of action and
     non-litigation recoveries.
b) Asset Disposition                                                                       7.50    $3,352.00
     Sales, leases, abandonment and related transaction work
c) Avoidance Action Litigation
     Preference and fraudulent transfer litigation.
d) Business Operations
     Issues related to debtor-in-possession operating in chapter 11 such as
     employee, vendor, tenant issues and other similar problems.
e) Case Administration                                                                    30.70   $15,173.50
     Coordination and compliance activities, including preparation of statement
     of financial affairs, schedules, list of contracts, United States Trustee interim
     statements and operating reports; contacts with the United States Trustee;
     general creditor inquires.
f) Claims Administration and Objections                                                    1.30     $664.00
     Specific claim inquiries; bar date motions; analyses, objections and
     allowance of claims
g) Employee Benefits/Pensions
     Review issues such as severance, retention, 401K coverage and continuance
     of pension plan.
h) Fee/Employment Applications                                                             1.00     $175.00
     Preparations of employment and fee applications for self or others; motions
     to Establish interim procedures.
i)   Fee/Employment Objections
     Review of an objection to the employment and fee applications of others.
j) Financing
     Matters under 361, 363 and 364 including cash collateral and secured claims;
     loan document analysis.
k) Litigation                                                                             16.10    $7,884.50
     Other than Avoidance Action Litigation (there should be a separate category
     established for each major matter).
l) Meetings of Creditors
     Preparing for and attending the conference of creditors, the 341(a) meeting
     and other creditors’ committee meetings.
m) Plan and Disclosure Statement                                                          46.20   $23,590.00
     Formulation, presentation and confirmation; compliance with the plan
     confirmation order, related orders and rules; disbursement and case closing
     activities, except those related to allowance and objections to allowance of
     claims.
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SERVICES RENDERED                                                                   HOURS       FEE
n) Relief from Stay Proceedings
   Matters relating to termination or continuation of automatic stay under 362.
o) Accounting Auditing
   Activities related to maintaining and auditing books of account, preparation
   of financial statements and account analysis.
p) Business Analysis
   Preparation and review of company business plan; development and review
   of strategies; preparation and review of cash flow forecasts and feasibility
   studies.
q) Corporate Finance
   Review financial aspects of potential mergers, acquisitions and disposition of
   company or subsidiaries.
r) Data Anslysis
   Management information systems review, installation and analysis,
   construction, maintenance and reporting of significant case financial data,
   lease rejection, claims, etc..
s) Litigation Consulting
   Providing consulting and expert witness services related to various
   bankruptcy matters such as insolvency, feasibility, avoidance actions;
   forensic accounting, etc.
t) Reconstruction Accounting
   Reconstructing books and records from past transactions and bringing
   accounting current..
u) Tax Issues
   Analysis of tax issues and preparation of state and federal tax returns..
v) Valuation
   Appraise or review appraisals of assets..
w) Travel Time


SERVICE TOTALS                                                                       109.10   $53,924.00
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                                             SECTION III
                                      SUMMARY OF DISBURSEMENTS


 DISBURSEMTNS                                                                          AMOUNT
 a) Filing Fees                                                                          $100.00
      Payable to Clerk of Court.
 b) Computer Assisted Legal Research                                                      $39.67
      Westlaw, Lexis and a description of manner calculated.
 c) Pacer Fees                                                                           $133.70
      Payable to the Pacer Service Center for search and/or print..
 d) Fax
      Include per page fee charged.
 e) Case Specific Telephone/Conference Call Charges
      Exclusive of overhead charges.
 f) In-house Reproduction Services                                                       $502.40
      Exclusive of overhead charges.
 g) Outside Reproduction Services
      Including scanning services.
 h) Other Research
      Title searches, UCC searches, Asset searches, Accurint.
 i)   Court Reporting
      Transcripts.
 j) Travel
      Mileage, tolls, airfare, parking.
 k) Courier & Express Carriers                                                           $368.05
    Overnight and personal delivery.
 l) Postage                                                                               $80.51

 m) Other (specify) Court Solutions                                                      $250.00

 n) Business Record Service                                                               $50.00
 DISBURSEMENTS TOTALS                                                                  $1,524.33


I certify that under penalty of perjury that the above is true.


Date: 4.5.2024                                                              /s/ Andrea Dobin
                                                                      Andrea Dobin
4880-4108-6388, v. 1
